          Case 1:21-vv-00617-UNJ Document 20 Filed 06/24/22 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0617V
                                        UNPUBLISHED


    THOMAS MEIROSE,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: May 19, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Zoe Wade, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 12, 2021, Thomas Meirose filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
October 26, 2018. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On May 19, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that Petitioner has satisfied the criteria set forth in the
Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation (“QAI”) for

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:21-vv-00617-UNJ Document 20 Filed 06/24/22 Page 2 of 2




SIRVA. Id. at 9 (citing 42 C.F. R. § 100.3(a)(XIV)(B), (c)(10). Respondent further agrees
that the case was timely filed; that the vaccine was received in the United States; and that
Petitioner satisfies the statutory severity requirement by suffering the residual effects or
complications of her injury for more than six months after vaccine administration. Id.
(citing Vaccine Act sections 11(c)(1)(B)(i)(I) and 11(c)(1)(D)(i)).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




                                             2
